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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION


 UNITED STATES                                      CRIMINAL NO. 03-50033-03

 VERSUS                                             JUDGE WALTER

 REGAN GATTI                                        MAGISTRATE JUDGE HORNSBY




                                MEMO RANDUM ORDER

        Gatti has filed a Motion to Vacate (Doc. 318) under 28 U.S.C. § 2255. Judge Walter

 recently dismissed all claims in the federal petition except some claims of ineffective

 assistance of counsel. Those claims were referred to the undersigned for further proceedings,

 including an evidentiary hearing.

        Attorney Douglas L. Harville is hereby appointed, pursuant to 18 U.S.C. § 3006A

 and Rule 8(c) of the Rules Governing Section 2255 cases, to represent Gatti with respect to

 the remaining claims in these district court proceedings. A status conference with both

 counsel will be held in the chambers of the undersigned on Wednesday, October 22, 2008

 at 3:00 p.m. to discuss any needed discovery, a date for a hearing, and related matters. If

 counsel have a conflict with the date, they may contact the court to inquire about

 rescheduling.




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       Because Judge Walter has directed by separate order that a hearing be held on some

 claims and that the other claims are denied, Gatti’s Motion for Evidentiary Hearing (Doc.

 352) is denied as moot.

       THUS DONE AND SIGNED in Shreveport, Louisiana, this 7th day of October, 2008.




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